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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
CHRISTOPHER CHANDLER,                     )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                   Case No. 18-cv-02136 (APM)
                                          )
DONALD BERLIN, et al.,                    )
                                          )
      Defendants.                         )
_________________________________________ )

                                              ORDER

        Pursuant to the parties’ Report under Local Civil Rule 16.3 and the court’s Memorandum

Opinion and Order, ECF No. 24, the court orders the following with regard to further proceedings

in this matter:

        I.        Scheduling.

                  A.     The parties shall exchange initial disclosures, as required under Rule
                         26(a)(1), on or before April 19, 2019.

                  B.     The parties shall submit a Joint Status Report regarding the status of
                         discovery on or before June 17, 2019;

                  C.     All discovery shall conclude on September 2, 2019; and

                  D.     A Post-Discovery Status Conference is set for September 4, 2019, at 10
                         a.m. in Courtroom 10.

                         The parties may not extend by stipulation the deadline for the Joint
                         Status Report, discovery deadline, or the Post-Discovery Conference.
                         Instead, the parties must seek an extension of time, preferably by filing
                         a consent motion with the court. A motion to extend any deadline shall
                         indicate whether any previous extensions were requested and granted.
                         The parties may modify all other interim deadlines by stipulation. If
                         the parties cannot agree to a schedule modification, the party seeking
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                      additional time must file a motion and show good cause for the
                      modification.
   II.     Discovery Disputes.

           Parties shall not exceed the numerical limitations placed on the various methods of
           discovery as set forth in the Federal Rules of Civil Procedure, unless granted leave by
           the court. As requested, each Party shall be able to serve thirty-five written
           interrogatories for this phase of discovery.

           In the event that a discovery dispute arises, the parties shall make a good faith effort
           to resolve or narrow the areas of disagreement. If the parties are unable to resolve the
           discovery dispute, then the parties shall jointly call Judge Mehta’s chambers at (202)
           354-3250, at which time the court will either rule on the issue or determine the manner
           in which it will be handled. The parties may not file a discovery motion without leave
           of court.

           Disputes regarding discovery must be raised on or before the discovery deadline.
           Disputes raised after the deadline will be considered untimely. Likewise, a request
           for additional time to conduct discovery must be made on or before the discovery
           deadline. A request for an extension of time made after the discovery deadline will
           be considered untimely.

   III.    Settlement.

           The parties are expected to continue to evaluate their respective cases for purposes of
           settlement. The court encourages the use of alternative dispute resolution—e.g.,
           mediation or neutral case evaluation. The use of these methods is available at any
           time, as is a settlement conference before a magistrate judge. If the parties are
           interested in further pursuing these options, then they may contact chambers at any
           time.




Dated: April 22, 2019                                       Amit P. Mehta
                                                     United States District Court Judge




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